Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 1 of 12 Pageid#: 351




                     EXHIBIT 1
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 2 of 12 Pageid#: 352




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 2, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Roberta A. Kaplan (with its initial certificate of service) with the Clerk of the

  Court using the CM/ECF system, and entered as Docket Entry 66. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323

  Robert Ray
  (a/k/a Robert “Azzmador” Ray and Robert Warren Ray)
  22345 Cherry Lane
  Frankston, TX 75763

  Traditionalist Worker Party
  Registered agent: Thomas Buhls
  2517 Federal Road
  Benson, NC 27504


                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs

  153572294
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 3 of 12 Pageid#: 353




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Alan Levine (with its initial certificate of service) with the Clerk of the Court

  using the CM/ECF system, and entered as Docket Entry 68. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323



                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs

  153829797
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 4 of 12 Pageid#: 354




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of David E. Mills (with its initial certificate of service) with the Clerk of the

  Court using the CM/ECF system, and entered as Docket Entry 69. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323



                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs

  153829807
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 5 of 12 Pageid#: 355




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Julie E. Fink (with its initial certificate of service) with the Clerk of the Court

  using the CM/ECF system, and entered as Docket Entry 70. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323




                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
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                                                        Reston, VA 20190-5656
                                                        Telephone: (703) 456-8000
                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs
  153829818
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 6 of 12 Pageid#: 356




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Christopher B. Greene (with its initial certificate of service) with the Clerk of

  the Court using the CM/ECF system, and entered as Docket Entry 71. I hereby further certify,

  on November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323



                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
  153829830
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 7 of 12 Pageid#: 357




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 3, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Seguin L. Strohmeier (with its initial certificate of service) with the Clerk of

  the Court using the CM/ECF system, and entered as Docket Entry 72. I hereby further certify,

  on November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323



                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
                                                       11951 Freedom Drive, 14th Floor
                                                       Reston, VA 20190-5656
                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs

  153829840
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 8 of 12 Pageid#: 358




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Yotam Barkai (with its initial certificate of service) with the Clerk of the

  Court using the CM/ECF system, and entered as Docket Entry 78. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323




                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
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                                                       Reston, VA 20190-5656
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                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
  153829847
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 9 of 12 Pageid#: 359




                    FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

          I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

  Vice Admission of Philip M. Bowman (with its initial certificate of service) with the Clerk of the

  Court using the CM/ECF system, and entered as Docket Entry 79. I hereby further certify, on

  November 9, 2017, that I have also served the following additional non-ECF participants with

  said motion, via U.S. mail, First Class and postage prepaid:


  Matthew Heimbach
  3099 Buchanan Road SE, # 411
  Cleveland, TN 37323




                                                       s/ Robert T. Cahill
                                                       Robert T. Cahill (VSB 38562)
                                                       COOLEY LLP
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                                                       Telephone: (703) 456-8000
                                                       Fax: (703) 456-8100
                                                       Email: rcahill@cooley.com

                                                       Counsel for Plaintiffs
  153829866
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 10 of 12 Pageid#: 360




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

           I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Karen L. Dunn (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 80. I hereby further certify, on

   November 9, 2017, that I have also served the following additional non-ECF participants with

   said motion, via U.S. mail, First Class and postage prepaid:


   Matthew Heimbach
   3099 Buchanan Road SE, # 411
   Cleveland, TN 37323




                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
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                                                        Reston, VA 20190-5656
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                                                        Fax: (703) 456-8100
                                                        Email: rcahill@cooley.com

                                                        Counsel for Plaintiffs

   153829890
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 11 of 12 Pageid#: 361




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

           I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of William A. Isaacson (with its initial certificate of service) with the Clerk of

   the Court using the CM/ECF system, and entered as Docket Entry 81. I hereby further certify,

   on November 9, 2017, that I have also served the following additional non-ECF participants with

   said motion, via U.S. mail, First Class and postage prepaid:


   Matthew Heimbach
   3099 Buchanan Road SE, # 411
   Cleveland, TN 37323




                                                        s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
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                                                        Counsel for Plaintiffs
   153829902
Case 3:17-cv-00072-NKM-JCH Document 91-1 Filed 11/09/17 Page 12 of 12 Pageid#: 362




                     FIRST SUPPLEMENTAL CERTIFICATE OF SERVICE

           I hereby certify that on November 6, 2017, I electronically filed the Motion for Pro Hac

   Vice Admission of Joshua J. Libling (with its initial certificate of service) with the Clerk of the

   Court using the CM/ECF system, and entered as Docket Entry 82. I hereby further certify, on

   November 9, 2017, that I have also served the following additional non-ECF participants with

   said motion, via U.S. mail, First Class and postage prepaid:


   Matthew Heimbach
   3099 Buchanan Road SE, # 411
   Cleveland, TN 37323




                                                         s/ Robert T. Cahill
                                                         Robert T. Cahill (VSB 38562)
                                                         COOLEY LLP
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   153829914
